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                           UNITED STATES DISTRICT COURT
                          CENTRAL DISTRICT OF CALIFORNIA

                              CIVIL MINUTES – GENERAL

 Case No. SACV 22-00310-CJC(ADSx)                                  Date: June 16, 2022

 Title: KENT SALVESON V. HALL ROSS KESSLER



 PRESENT:

   HONORABLE CORMAC J. CARNEY, UNITED STATES DISTRICT JUDGE

    Rolls Royce Paschal                                      N/A
       Deputy Clerk                                      Court Reporter

 ATTORNEYS PRESENT FOR PLAINTIFF:              ATTORNEYS PRESENT FOR DEFENDANT:

        None Present                                     None Present

 PROCEEDINGS: (IN CHAMBERS) ORDER DENYING DEFENDANT’S
 MOTION TO MODIFY SCHEDULING ORDER (Dkt. 40)


 This case is stayed. (Dkt. 42.) Shortly before the Court docketed its order staying the
 case, Defendant filed a motion to modify the scheduling order, which Defendant believes
 does not reflect his demand for a jury trial. (Dkt. 40.) Because this case is stayed, the
 Court DENIES the motion. The Court notes, however, that Defendant will not be held to
 have waived his right to a jury trial and will have an opportunity to demand a jury trial if
 and when he files an answer after the appeal of this Court’s denial of his anti-SLAPP
 motion.

 MINUTES FORM 11
 CIVIL-GEN                                                           Initials of Deputy Clerk RRP
